Case 1:06-cr-00395-DKW      Document 65     Filed 05/24/07   Page 1 of 1 PageID.195



                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )               CR. NO. 06-00395-02 DAE
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
MARVIN QUEMADO, JR., (02) )
                              )
          Defendant.          )
_____________________________ )

  ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF GUILT AND
                   NOTICE OF SENTENCING

             Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there has been no timely objection, the plea of guilty of

the Defendant to the Indictment is now Accepted and the Defendant is Adjudged

Guilty of such offense. All parties shall appear before this Court for sentencing as

directed.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, May 24, 2007.




                                       _____________________________
                                       David Alan Ezra
                                       United States District Judge
